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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              Case No. 1:09-MD-02036-JLK
       ________________________________________________
                                                       )
       IN RE: CHECKING ACCOUNT                          )
       OVERDRAFT LITIGATION                             )
                                                       )
       MDL No. 2036                                     )
       ________________________________________________)

       ________________________________________________
                                                       )
       THIS DOCUMENT RELATES TO:                       )
                                                       )
       Lopez v. JPMorgan Chase Bank, N.A.              )
       S.D. Fla. Case No. 1:09-cv-23127                )
       ________________________________________________)

                     PLAINTIFF’S_RESPONSES TO THE FIRST SET OF
                  INTERROGATORIES OF JP MORGAN CHASE BANK, N.A.

               Pursuant to Fed. R. Civ. P. 26 and 33, Plaintiff Estella Lopez, (“Plaintiff”) hereby

       responds to Defendant J.P. Morgan Chase Bank N.A.’s (“Chase” or “Defendant”)

       First Set of Interrogatories (“interrogatories”).



                                         GENERAL OBJECTIONS
          1.    Plaintiff objects to each discovery request to the extent it calls for documents or

       other information that are protected from discovery by the attorney-client privilege, work

       product doctrine, or any other applicable privilege.       Any inadvertent disclosure of

       privileged information shall not be deemed a waiver by Plaintiff of any applicable

       privilege or doctrine.

          2.    Plaintiff’s discovery and investigation with respect to the issues in this case are

       ongoing. The following responses and objections are provided without prejudice to
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       Plaintiff’s right to revise or supplement their responses or objections based on subsequent

       discovery or investigation.

          3.    Plaintiff objects to each discovery request to the extent it seeks confidential or

       private personal or business information.       To the extent that documents and other

       information requested by Defendant are not protected from discovery based on attorney-

       client privilege or work product doctrine, and are otherwise discoverable, they will be

       produced subject to an appropriate protective order.

          4.    Plaintiff objects to each discovery request to the extent that it begs the question

       and/or assumes facts which have not been admitted. By responding to these requests,

       Plaintiff does not admit, concede or agree with any explicit or implicit assumption made

       in the requests.

          5.    Plaintiff’s production of documents and other information in response to these

       requests is not intended and should not be construed as (a) an admission that the

       produced documents or other information are relevant or admissible; (b) a waiver of any

       of these General Objections; or (c) a waiver of any specific objections asserted in

       response to individual discovery requests.        Plaintiff reserves all proper objections

       regarding the competency, relevancy, materiality, privilege, authenticity and/or

       admissibility as evidence, for any purpose, of any and all documents and other

       information produced by Plaintiff in this litigation.

          6.    Plaintiff objects to the “Definitions,” “Instructions,” and to each discovery

       request to the extent they purport to impose any requirement or discovery obligation on

       Plaintiff greater than or different from those imposed by Rule 26 or 33 of the Federal

       Rules of Civil Procedure and the applicable rules of this Court.


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